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                    EXHIBIT G
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                                                                                                                            Exhibit 99.2

                                                         W. R. GRACE & CO., et al.
                                                         CASE NO. 01-1139 (JFK)

                                                   TERM SHEET FOR RESOLUTION OF
                                                  ASBESTOS PERSONAL IN.nRY CLAIMS

           This Term Sheet sets fort certain of   the principal terms and conditions under which the Debtors, the Ofcial Equity Security
 Committee, the Offcial Committee of        Personal Injury Claimants ("ACC") and the Future Claiants Representative ("FCR") in the
 above-captioned Chapter 11 cases ar prepared to file a plan of reoigantion ("Plan") as co-proponents providing for the resolution
 of all asbestos personal injur claims and liabilties, including without limitaon all asbestos personal injury clais pending at the
 filing date of the Chapter 1 I cases and those arising subsequent thereto (collectively, "Asbestos PI Claim''). This Term Sheet also
 sets fort the proposed treatment of other key classes of claims asserted in the Chapter i i cases. This Term Sheet has been produced
 for settlement purses only and is subject to the provisions of  Rule 408 of   the Federal Rules of Evidence.


 I. Treatment of Claims



 A. Asbestos Pi Trust



 All Asbestos PI Claims will be chaeled to a trst (the "Asbestos PI Trust') that is established in accordance with Section 524(g) of
 the United States Banptcy Code. The Asbestos PI Trust wil pay claims from trust assets in accordance with a trst agreement and
 trst distrbution procedures established by theACC and FCR in connection with the Plan.



 1. Funding of Asbestos PI Trust at Emergence. On the Effective Date of the Plan, the Asbestos PI Trust shall
 receive the following, each of which shall be a condition to the Plan becoming effective:



 a. Cash Pavment $250 milion, plus. if the Effective Date occurs after December 31, 2008, Interest from January 1,
2009 to the Effective Date accrued at the same rate applicable to Grace's senior debt.



b. Insurance: the assignment by W. R. Grace & Co.~Conn. ("Grace") and all of Its affliates to the Asbestos PI Trust,
of all insurance policies and all insurance proceeds available for payment of Asbestos PI Claims, effective as of the
Effective Date, including without limitation:



i. Any such proceeds from the date hereof of all settlements with insurance companIes, and all interest accrued
thereon;




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 ii. Any proceeds of the settlement with Equitas held in escrow with all interest accrued thereon;




 111. Ariy proceeds of all settlements with all inšurance companies under coverage in place agreements or installment
 payment arrangements where payment has not yet occurred;



 iv. Assignment of and the right to recover on all outstanding insurance policies potentially applicable to personal
 injury claimants; and



 v. The nght to recover from all insolvent Insurance estates as to which Grace or its affliates has made a claim and
 the proceeds of all payments received by Grace or its affliates from those insolvent estates after the date hereof, and all
 interest accrued thereon.


 Provided however that Grace is in the process of examining its policies and the foregoing wil not affect Grace's separte coverages, if
 any, for losses not arising from asbestos personal injury claims.



The ACC and FCR (or, after the Effective Date, the Asbestos PI Trst) shall control (and Grace shall cooperate in connection with)
 any negotiatons or legal proceedings related to the underlying policies or settlement ageements applicable to Asbestos PI Claims.



c. Warrant a warrant for 10 millon shares of W. R. Grace & Co. ("Parent") common stock, exercisable at $17 per
share. and expiring one year after the Effective Date.



d. Cryovac. Inc. Payment: The consideration contemplated by the Sealed Air Settlement Agreement.




e. Fresenius Medical Care Payment: The proceeds of the payment contemplated by the Fresenius Settlement
Agreement.


2. Deferred Payment Obligations: Grace shall make additional payments to the Asbestos Pi Trust over a 15 year
period as follows: five annual payments of $110 milion commencing on January 2,2019; and 10 annual payments of
$100 millon commencing on January 2,2024. Such payment obligations shall be subordinate to any bank debt or bonds
outstanding and shall be guaranteed by Parent or any successor ultimate parent entity of Grace. Such guaranty shall be
secured by an Obligation of Parent to issue to the Asbestos Pi Trust, in the event an additional payment is not made, the
number of shares of Parent common stock which, when


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 added to the number of shar of common stock issued and outtading as of                  the Effective Date, shall consttute 50.1 % of   the votig
 shares of   Parent as of                              shares shall be equitaly adjusted for stock splits, stock dividends,
                            the Effectie Date (such number of
 recapitaizations, corprate reorganzaons or changes in control ofparent afer the Effective Date).



 B. Other Classes



 1.          Administrative Claims: 100% of allowed amount in cash.


 2. Priority Tax Claims: 100% of allowed amount in cash.




 3. Priority Non-Tax Claims: 100% of allowed amount in cash.




 4.          Secured Claims: 100% of allowed amount either in cash or by reinstatement.



 5. Unsecured Employee Claims (post-retirement health and special pension): 100% of allowed amount by
 reinstatement.


6. Workers Compensation Claims: 100% by reinstatement.



7. Allowed General Unsecured Claims: 100% of allowed amount plus post-petitIon interest as follows: (i) for
holders of pre-petition bank credit facilties, post-petition interest at the rate of 6.09% from the filing date through
December 31, 2005 and thereafter at floating prime, in each case compounded quarterly; and (il) for all other unsecured
claims, interest at 4.19%, compounded annually, or if pursuant to an existing contract, Interest at the non-default contract
rate.


8. Allowed Environmental Claims: 100% of allowed amount in cash.




9. Traditional Asbestos Propert Damage Claims: 100% of allowed amount In cash for settled claims. The Plan
shall set forth procedures for the allowance of all Asbestos PO Claims that are dIsputed as of the Effective Date.



10. ZAI Claims: Unless the Plan Proponents agree otherwise as to the treatment of ZAI Claims, the court shall
estimate, for purposes of allowance and distrbution, any liabllty on account of ZAI Claims prior to or in connection with
the confirmation of the Plan. ZAI Claims shall be paid 100% of their allowed amount up to the amount of the court's
estimate.
II. Channeling Injunctions. The Plan shall contain injunctions under Sections 524(g) and Section 105(a) of                          the Banptcy
          Code to protect the Debtors, Cryovac, Sealed Air, Fresenius, their afliates, offcers, directors and employees, and other
          pares in interest and certin insurers. The Plan shall also contain such provisions, injunctions and releases


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           (i) as ar necesar to comply with the terms of  the Seaed Air Settement Agreement and the Fresenius Settlement
           Agrment; and (ii) to the fu extent permitted by law, to indemnifY, and releae all of Grace's offcers, directurs, employees
           and profesionals, and the members of all offcial commttes, the FCR and their professionals, ftom any liabilty on accunt
           of clai agat Grae, or arsing in or in conection wi these Chapter i 1 caes. The foregoing injunctions,
           indemnifications and Jeleases slia1 be at least as eiçensive lI, and consistnt with, the injunctions, indellifcations and
           rèieaes proVided for under Grace's Amended Plan currently filed in the Chapter i 1 Cases to the extent such latter
           injunctions, indemnifications and releases are not inconsistent with this Tenn Sheet.

 m. Resolution of Outstanding Issues. The paries agree to cooperate in seeking a resolution of outstading issues material to
           or not otherwise resolved in connection with the confirmation of a plan of reorganization.

 Iv Binding Effect. This Term Sheet has been approved by all necessar corporate or orgaizational action of                          the Board of
           Directors of   Parent and Grace, the ACC, the FCR and the Equity Committee, and shall be binding upon the pares and each
           of   their respectve successors and assign to the fullest extent permitted by applicable law. The pares shall use their best
           effort to incorporate the terms of     this Term Sheet into a mutually agreeable plan of          reorganization to be fied with the
           Bankrptcy Court as soon as possible.


 V. Confidentiality.

 The pares shall treat all negotiations regarding this Tenn Sheet as confdential. Neither the contents nor the existence ofthis Term
 Sheet shall be disclosed by any par, either orally or in writing, except to its directors, offcers, employees, legal counsel, financial
 advisors, accountats and clients on a confidential basis until the Debtors have issued a press releae anouncing the terms and
 conditions contained herein. Notwthtading the foregoing, the paries agree that this Term Sheet or the terms of                   this Term Sheet
 may be disclosed to the Offcial Committee of       Unsecued Creditors and the Offcial Committee of Asbestos Propert Damage
 Claimants. Grace wil provide counsei to the ACC and counsel to the FCR an opportnity to review and comment on any press
 release relating to this Term Sheet prior to its issuance.



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 AGREED TO AN ACCEPTED BY:
 Dated: April 6, 2008

 TI DEBT()lt: . ... . . . _
 W. R. GRACE & CO., on behalf of itself and its subsidiaries and afliates that are Debtors in
 the Chapter 11 caes

 By: Isl Fred Festa
 Name: Fred Festa
 Title: Chainnan, President and Chief         Executive Offcer


 THE OFFICI COMMITTEE OF EQUITY SECURIY HOLDERS

 By: 151 R. Ted Weschler
 Name: R. Ted Weschler
 Title: Chair of     the Commttee

 THE OFFICIA          COMMITTEE OF ASBESTOS PERSONAL INJURY CLAIANTS:
 CAPLIN & DRYSDALE, CHARTERED, on behalf of   and in its capacity as counsel to the ACe


 By: IS! Elihu Inselbuch
 Name: Elihu Inselbuch

 THE FUTU CLAINTS REPRESENTATIV:
 ORRCK, HERRGTON & SUTCLIFFE LLP, on behalf of and in its capacity as counsel to the FCR


By: IS! Roger Franel
Name: Roger Frankel

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